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                           DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES,                                 )
                                               )
                      Plaintiff,               )
                                               )
                      v.                       )       Case No. 3:99-cr-0006
                                               )
IRVINE HODGE,                                  )
                                               )
                      Defendant.               )
                                               )

                                   MEMORANDUM OPINION
MOLLOY, J.
       BEFORE THE COURT is the renewed motion of Irvine Hodge (“Hodge”) for
compassionate release, filed on August 11, 2020. (ECF No. 347.) For the reasons stated
below, the Court will deny the motion without prejudice.
                                      I. BACKGROUND
       In April of 2000, Hodge and his brother pled guilty to first degree murder during a
Hobbs Act robbery of a jewelry store, under a package agreement with the Government.
Under the brothers’ identical plea agreements, the Government agreed it would “make no
specific sentencing recommendation other than to request that the sentence be within the
guideline range.” (ECF No. 260-1.) Hodge and his brother were convicted, and each was
sentenced to life imprisonment.
       Hodge’s brother timely appealed his sentence to the Third Circuit Court of Appeals
(“Third Circuit”) which vacated his sentence, holding that the Government had breached its
plea agreement by recommending that the brothers be sentenced to the full weight of the
law in its argument. Hodge did not timely appeal his sentence but moved for collateral relief
under 28 U.S.C. § 2255. In his motion, Hodge argued that the Government had breached the
plea agreement and that his lack of timely filing of an appeal was due to ineffective assistance
of counsel. The District Court denied Hodge’s motion and he appealed the denial. The Third
Circuit held that Hodge’s counsel was ineffective in not filing the appeal and vacated Hodge’s
sentence. The case was remanded to the District Court for re-entry of the (same) sentence
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so Hodge would have the opportunity to file a direct appeal. Following the Court’s re-entry
of the sentence, Hodge filed an appeal.
        On August 5, 2010, the Third Circuit vacated Hodge’s sentence, holding that the
Government had breached the plea agreement by recommending a “life sentence in all but
name” at the hearing. Id. at 8. The Third Circuit remanded to the District Court. On November
30, 2011, the Court filed an amended judgment, sentencing Hodge to 410 months followed
by five years of supervised release. 1
        On May 11, 2020, Hodge filed a motion for compassionate release. See ECF No. 338.
In his motion, Hodge acknowledged the statutory requirement that defendants must exhaust
administrative remedies before moving the court for compassionate release. He asserted
that he requested compassionate release from the Warden and acknowledged that the 30-
day period for the Warden to reply had not yet elapsed. Hodge then argued that the Court
could “waive” the exhaustion requirement because it would be “futile” to wait for the full 30
days to elapse “since the BOP w[ould] not be able to respond to his request within that time.”
Id. at 2. He further asserted that the generalized threat to prison populations presented by
the COVID-19 pandemic presented an extraordinary and compelling reason to warrant relief.
Although Hodge did not list any health risk factors that increase his likelihood of contracting
COVID-19 or of succumbing to the virus were he to contract it, he argued that contracting the
virus could be a “death sentence” for him. Id. at 3.
        On May 27, 2020, the United States filed an opposition to Hodge’s motion for
compassionate release. See ECF No. 340. In its opposition, the United States argued that the
Court should deny Hodge’s motion without prejudice because Hodge had not exhausted
administrative remedies as required under 18 U.S.C. § 3582. Id. at 8-10. The United States
also argued that, even if Hodge had exhausted his administrative remedies, he had not shown
that extraordinary and compelling reasons warranted his release and he still posed a
significant danger to the community. Id. at 16-19. On June 3, 2020, the Court denied Hodge’s


1 On November 30, 2011, the sentencing judge orally sentenced Hodge to “410 months” of incarceration,
followed by a five-year term of supervised release. See Transcript, ECF No. 298, at 41, lines 20-22; see also ECF
No. 286, at 3. There is inconsistency between the transcript of the sentencing hearing and the written judgment
of November 30, 2011, which states Hodge was sentenced to 405 months of incarceration followed by five years
of supervised release. ECF No. 290, at 2-3. The Court finds this inconsistency immaterial for purposes of
disposition of this motion.
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motion without prejudice for his failure to satisfy the exhaustion requirements of Section
3582(c)(1)(A). ECF No. 341.
        Thereafter, on August 11, 2020, Hodge filed the instant motion, renewing his request
for compassionate release. See ECF No. 347. Hodge asserts that he filed a request with the
Warden at FCI Fort Dix on April 30, 2020, to move the court for compassionate release on
his behalf. To date, more than 30 days have passed since he filed his request with the Board
of Prison, and Hodge has not received a response from the Warden.
        Beyond the generalized threat of the COVID-19 pandemic to incarcerated inmates,
Hodge does not assert any additional extraordinary and compelling reasons warranting a
reduction in his sentence. On August 27, 2020, the USA filed an opposition to Hodge’s motion.
ECF No. 348.
                                        II. DISCUSSION
        Pursuant to 18 U.S.C. § 3582, a sentencing court has the authority to modify a sentence
imposed under certain conditions. Section 3582 provides in pertinent part that
        (A) the court, . . . upon motion of the defendant after the defendant has fully
        exhausted all administrative rights to appeal a failure of the Bureau of Prisons
        to bring a motion on the defendant’s behalf or the lapse of 30 days from the
        receipt of such a request by the warden of the defendant’s facility, whichever is
        earlier, may reduce the term of imprisonment . . . , after considering the factors
        set forth in section 3553(a) to the extent that they are applicable, if it finds
        that—
            (i) extraordinary and compelling reasons warrant such a reduction; . . .
            ...
        and that such a reduction is consistent with applicable policy statements issued
        by the Sentencing Commission . . . .

18 U.S.C. § 3582(c)(1).
        The Third Circuit has explained that, prior to a District Court considering a
defendant’s motion for compassionate release pursuant to Section 3582, either (1) the
Bureau of Prisons (“BOP”) must have had 30 days to consider the defendant’s request that
the BOP move for compassionate release on his behalf, or (2) the defendant must
administratively exhaust an adverse decision by the BOP in response to that defendant’s
request within that time period. See United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020).
Failure to comply with Section 3582(c)(1)(A)’s exhaustion requirement “presents a glaring
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roadblock foreclosing compassionate release.” See id. Once a defendant has met the
exhaustion requirement, “a district court ‘may reduce [a federal inmate’s] term of
imprisonment’ and ‘impose a term of probation or supervised release . . . if it finds that . . .
extraordinary and compelling reasons warrant such a reduction.’” United States v. Pawlowski,
967 F.3d 327, 329 (3d Cir. 2020) (quoting 18 U.S.C. § 3582 (c)(1)(A)(i)). “But before granting
compassionate release, a district court must ‘consider[] the factors set forth in [18 U.S.C. §]
3553(a) to the extent that they are applicable.’” Id. “Those factors include, among other
things, ‘the history and characteristics of the defendant’ and ‘the need for the sentence
imposed . . . to reflect the seriousness of the offense, to promote respect for the law, . . . to
provide just punishment for the offense[, and] . . . to afford adequate deterrence to criminal
conduct.’” Id. at 330 (citations omitted).
        In addition, the United States Sentencing Commission has issued a policy statement
addressing the reduction of sentences pursuant to Section 3582(c)(1)(A). That statement
provides that a court may reduce a term of imprisonment if, after considering the factors set
forth in 18 U.S.C. § 3553(a), the court determines that (1) “extraordinary and compelling
reasons warrant the reduction”; (2) “the defendant is not a danger to the safety of any other
person or to the community, as provided in 18 U.S.C. § 3142(g)”; and (3) “the reduction is
consistent with this policy statement.” U.S.S.G. § 1B1.13.
        Here, Hodge asserts that he made a request to the warden at his facility on April 30,
2020. Given this, it is clear that the 30-day exhaustion period has expired. As such, the Court
has the authority to consider the merits of Hodge’s motion.
        With respect to the merits, Hodge does not argue that any other extraordinary or
compelling reasons beyond the existence of COVID-19, and its presence in the facility where
he is incarcerated, warrant a reduction in his sentence. Significantly, the Third Circuit has
explained that “the mere existence of COVID-19 in society and the possibility that it may
spread to a particular prison alone cannot independently justify compassionate release,
especially considering BOP’s statutory role, and its extensive and professional efforts to
curtail the virus’s spread.” Raia, 954 F.3d at 597. As such, the Court finds that Hodge has not
demonstrated any extraordinary or compelling reasons to reduce his sentence. Moreover,
even if the Court were to find that Hodge had demonstrated extraordinary and compelling
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reasons to reduce his sentence, Hodge has not addressed (1) whether he is not a danger to
the safety of any other person or to the community, as provided in 18 U.S.C. § 3142(g) or (2)
whether a reduction in his sentence would be consistent with the factors set forth in 18 U.S.C.
§ 3553(a). As such, the Court concludes that Hodge has failed to show that he is entitled to a
sentence reduction.
                                      III.CONCLUSION
        Once the defendant has established administrative exhaustion, the defendant has the
burden of showing he is entitled to a sentence reduction pursuant to Section 3582(c)(1). Cf.
United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016) (noting that the defendant has the
burden of establishing that he is eligible for a sentence reduction under 18 U.S.C.
§ 3582(c)(2)). Here, Hodge has not met this burden. Accordingly, the Court will deny the
motion. An appropriate Order follows.



Dated: October 2, 2020                             s/ Robert A. Molloy
                                                   ROBERT A. MOLLOY
                                                   District Judge
